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                             UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF NEW YORK

ARLENE J. DELGADO,
Plaintiff,

-vs-                                                                    No. 19-cv-11764 (AT) (KHP)

DONALD J. TRUMP FOR PRESIDENT, INC.,
TRUMP FOR AMERICA, INC., SEAN SPICER,
individually, REINCE PRIEBUS, individually,
and STEPHEN BANNON, individually,

Defendants.

                            NOTICE OF FILING UNREDACTED COPY

       Plaintiff, ARLENE J. DELGADO, hereby files the enclosed ATTACHMENT A, due to
the Defendants’ filing yesterday, entitled DEFENDANTS’ MEMORANDUM OF LAW IN
OPPOSITION TO PLAINTIFF’S MOTION TO REOPEN DISCOVERY(ECF 374, July 3,
2024).

       Plaintiff, in an unnecessary abundance of good faith towards all involved (both of the
individuals named, as well as even the Defendant-Campaign), had, in her Supplement (ECF 367,
June 27, 2024), redacted names from the attachment.

       However, given the Defendants’ filing yesterday (ECF 374), in which Defendants
publicly continue to question Plaintiff’s integrity and publicly now imply she is, at best, fibbing,
and that the advisor who provided Plaintiff this information was probably not, in fact, someone
who would be privy to this information (ECF 374, p. 11) and Plaintiff was thus misrepresenting
matters…1 Plaintiff thus has no alternative but to file the unredacted version and does so herein.

        The advisor who disclosed this information, given her integrity and honesty, to Plaintiff
was Jenna Ellis, Esq.. Ms. Ellis was not only a senior advisor but a senior legal advisor. She is an
attorney and is credible. She was a highly senior member of the Campaign and precisely in the
position to be privy to this information. It is also highly logical that Mr. Glassner would have
shared this information with Ms. Ellis in particular.

        Will the Defendants still continue to claim there exists “no complaints” to provide to
Plaintiff, though they were ordered to provide such? Will their position be that Ms. Ellis

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  On footnote 5, p. 12, of the Defendant’s filing, Defendants claim that Plaintiff refused to respond to a request,
dated June 28th, that she privately provide them an unredacted copy and label it Confidential. This is incorrect.
Plaintiff did respond to the email, the morning of June 30th. See screenshot in Attachment B. That notwithstanding,
the Plaintiff could not have privately provided an unredacted version to the Defendants, given that the Defendants
would reference and rely on such in a public response. Material that a party is addressing in public, cannot be
privately concealed.
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fabricated this all in her mind? Will their position be that Mr. Glassner lied to Ms. Ellis (for no
apparent reason), or fabricated this all in his mind? Will their position continue to be that there is
no reason to depose Mr. Glassner?

        The fact is Defendants are imitating the Wizard of Oz in the third act of the classic film,
frantically pulling at levers trying to shut the curtain and shrieking, “Nothing to see here!” when
the curtain has already revealed there is. The only question remaining is whether this Court will
allow Defendants to get away with it.

DATED: July 4, 2024



                                                                                    s/Arlene Delgado
                                                                                      Arlene Delgado
                                                                                      Plaintiff, pro-se
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                        ATTACHMENT A
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                        ATTACHMENT B
